Case 6:16-cv-00970-RBD-TBS Document 84 Filed 05/23/18 Page 1 of 1 PageID 977



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

   UNITED STATES OF AMERICA,
   BARBARA BERNIER and ESE LOVE,

         Plaintiffs,

   v.                                                 Case No: 6:16-cv-970-Orl-37TBS

   INFILAW CORPORATION, CHARLOTTE
   SCHOOL OF LAW, LLC, AMERICAN
   BAR ASSOCIATION and AMERICAN
   BAR ASSOCIATION,

         Defendants.


                                         ORDER

         The Consent Motion of Defendants Infilaw Corporation and Charlotte School of

   Law, LLC for Extension of Time to Respond to Second Amended Complaint and for

   Leave to File Joint Motion to Dismiss in Excess of 25 Pages (Doc. 83), is GRANTED.

   These Defendants have through June 4, 2018 to file a combined motion to dismiss

   Plaintiff’s Second Amended Complaint of no more than 45 pages.

         DONE and ORDERED in Orlando, Florida on May 23, 2018.




   Copies furnished to:

         Counsel of Record
         Unrepresented Parties
